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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                        AT LOUISVILLE

                                 CIVIL ACTION NO. 3:08CV-240-H


KENNETH L. MATTINGLY                                                                PLAINTIFF


V.


MAPOTHER & MAPOTHER, P.S.C.                                                        DEFENDANTS


                            MEMORANDUM OPINION AND ORDER


        Plaintiff, Kenneth Mattingly, has filed a pro se complaint alleging violations of the Fair

Debt Collection Practice Act (the ‘FDCPA”), the Fair Credit Reporting Act (the “FCRA”) and

the Kentucky Consumer Protection Act (the “KCPA”) against a law firm, Mapother & Mapother,

P.S.C. Defendant has now moved to dismiss and Plaintiff has not responded. For the reasons

briefly stated that follow, the Court will dismiss the federal claims.

        The events underlying the lawsuit began in early 2007, when Plaintiff appears to have

gone into arrears on a Citibank credit card. Citibank hired Defendant to collect the debt. On

February 13, February 27 and March 19, 2007, Defendant sent validation letters to Plaintiff

attempting to collect the disputed amounts. Citibank filed a complaint in state court to collect

the indebtedness. That case remains pending. In that same case, Mattingly counterclaimed with

claims similar to those here. The state court dismissed those counterclaims. On May 5, 2008,

Plaintiff filed this lawsuit.

        Any action under the FDCPA must be brought within one year of the alleged violation.

15 U.S.C. § 1692k(d). By any measure, Plaintiff filed this lawsuit more than one year after
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Defendant’s last contacts with him. Thus, the FDCPA claim is time barred.

       Plaintiff’s FCRA claim cannot proceed because the law firm does not report any matters

to credit reporting bureaus. Consequently, no claim under this statute is available against

Defendant in these circumstances. The dismissal of the two federal actions means that the Court

is without jurisdiction to handle the remaining state action. The Court will exercise its discretion

to dismiss those claims without prejudice.

       Being otherwise sufficiently advised,

       IT IS HEREBY ORDERED that Plaintiff’s federal causes of action under the FDCPA

and the FCRA are DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that Plaintiff’s state law claims are DISMISSED

WITHOUT PREJUDICE.

       This is a final order.




           June 30, 2008




cc:    Kenneth L. Mattingly, Pro Se
       Counsel of Record




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